Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 1 of 21




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

   GOSSAMER WING, LLC, AS TRUSTEE,

                          Plaintiff,
                                                            CASE NO. 9:21-cv-80319-AMC
   v.
                                                              (formerly Palm Beach County
   THE BANK OF NEW YORK MELLON fka                             Case No. 2020-CA-011308)
   THE BANK OF NEW YORK, as Trustee for
   the Certificateholders of CWABS, Inc., Asset-
   Backed Certificates, Series 2007-2,

                     Defendant.
   ______________________________________/

            DEFENDANT’S MOTION TO QUASH SERVICE OF PROCESS AND
          VACATE THE CLERK’S DEFAULT AND DEFAULT FINAL JUDGMENT
                  AND INCORPORATED MEMORANDUM OF LAW

           Defendant, The Bank of New York Mellon as Trustee for CWABS, Inc., Asset-Backed

  Certificates, Series 2007-2 (“Defendant” or “Trust”), hereby moves, pursuant to Fed. R. Civ. P.

  12(b)(2) and 12(b)(5), to quash service of process improperly made upon Defendant; and moves,

  pursuant to Fed. R. Civ. P. 55(c) and 60(b), to set aside the clerk’s default entered on November

  19, 2020 and the default judgment entered on January 6, 2021 in the State Court Action; and says:

  I.       Background and Facts

           This case involves one of over eighty identical lawsuits filed in late 2020—primarily by

  Plaintiff’s counsel, Lee Segal—involving an egregious and intentional attempt to deprive the

  defendants of their fundamental due process rights by failing to serve defendants with process.

  Plaintiff’s counsel has designed this scheme, discussed below, to prevent the defendants from

  receiving any notice of these cases. Remarkably, the sole purpose of these lawsuits is to accumulate

  default judgments for many tens, if not hundreds, of millions of dollars.



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  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 2 of 21




           A.      Plaintiff’s counsel’s improper scheme to amass default judgments

           The named plaintiff in many of these cases is a shell company created by foreclosure

  defense attorneys to invest in foreclosure-distressed properties. In particular, the principal of the

  named Plaintiff in this case, and many if not most of these cases, is disbarred foreclosure defense

  attorney Mark Stopa. See Doc. 1 at ¶ 11 & Exs. B-C. These cases were filed primarily by Mr.

  Stopa’s friend and attorney, Lee Segal, along with three other lawyers working in concert.

           The court filings and pattern in all of these cases are identical. These lawsuits were all filed

  in late 2020 against Deutsche Bank National Trust Company (“DBNTC”) and The Bank of New

  York Mellon (“BONYM”). The complaints are based on a frivolous “wrongful foreclosure”

  theory, following entry of a foreclosure judgment in state court in favor of the defendant—i.e., the

  foreclosing plaintiff. These cases were purposefully filed in random counties throughout Florida—

  not in the proper county where the foreclosure judgments were obtained—to increase the

  likelihood of obtaining default judgments. 1 The stated cause of action is under Florida’s RICO

  statute because it allows for treble damages. The factual allegations are nonsensical, but the merits

  of the claims are irrelevant because Plaintiff’s counsel has no intent on litigating the cases on their

  merits. Indeed, a large percentage of these cases, including this one, involve signed settlement

  agreements between the parties, thereby releasing plaintiff’s “claims.”

           Most importantly, in each of these cases, Plaintiff’s counsel serves the summons and

  complaint on CT Corporation System (“CT Corp”), which is not the defendant’s registered agent.


  1
    Plaintiff’s counsel uses many tactics to make detection difficult. For example, he files the cases
  in counties without electronically-accessible court dockets, or, as in this case, he misclassifies the
  cases as “Trust Litigation” to make the filings confidential and unviewable (until defendants can
  persuade the clerk to make the filings accessible). Similarly, after defendants started searching for
  and locating cases filed by Mr. Segal, suddenly the cases started to be filed in the name of other
  attorneys and then Mr. Segal would immediately appear and take over the case. See, e.g., M.D.
  Fla. Case No. 5:21-cv-65.

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  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 3 of 21




  Upon receiving the summons and complaint, CT Corp immediately rejects service and provides

  Plaintiff’s counsel with a letter stating that CT Corp is not the defendant’s registered agent, and as

  a result, CT Corp was unable to forward the summons and complaint to the defendant. The

  rejection letter sent in this case, which is substantively identical to the one sent in every one of

  these cases, is an exhibit to CT Corp’s affidavit, which is attached as Exhibit 1. An affidavit of

  BNYM, attesting that BNYM never received service of the summons and complaint and first

  discovered this lawsuit on January 13, 2021, through its own independent research, is attached as

  Exhibit 2. And attached as Exhibit 3 is a chart listing over eighty identical lawsuits that

  undersigned counsel is aware of as of the date of this filing.

           Despite receiving these letters, and being on express notice that defendant has not received

  any notice of the lawsuit whatsoever, Plaintiff’s counsel quickly moves for both a default and a

  default final judgment for an exorbitant amount. Plaintiff’s counsel tries to accomplish this based

  on a generic “affidavit” stating that someone has reviewed Realtor.com and Zillow.com and

  arrived at an estimated property value, and then Plaintiff’s counsel requests treble “damages”

  based on the property value.

           Sometimes the courts recognize on their own that the plaintiff is not entitled to any

  judgment, either because the complaint clearly fails to state a claim, because the summary

  judgment “affidavit” is inadmissible and insufficient to establish damages, or because the

  defendant has not been properly served. Some recent examples of state court orders entered in

  these cases are attached hereto as Composite Exhibit 4. And sometimes the defendant will be able

  to discover the lawsuit before a clerk’s default is even entered—through its independent searches




                                                    3
  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 4 of 21




  of the court dockets throughout Florida—and will then appear before a default can be entered. In

  response, Plaintiff’s counsel will generally dismiss the case voluntarily. 2

           Even more shocking, after these cases are dismissed—either voluntarily or by the courts—

  and sometimes even before dismissal, Plaintiff’s counsel will often re-file the exact same

  complaint in a different improper county, without any notice to the defendant or its known counsel

  of record, repeating the same pattern described above. In one recent case, the U.S. District Court

  for the Northern District of Florida ordered Plaintiff’s counsel to show cause why “sanctions,

  including costs and attorney’s fees, should not be awarded against him, on these grounds: filing a

  duplicative action, filing the action in a clearly improper venue, failure to properly serve process,

  obtaining a default judgment with no colorable basis for asserting proper service of process . . . .”

  Case No. 1:21cv15-RH-GRJ (N.D. Fla. Feb. 19, 2021) Doc. No. 9, at 2-3. An example of such a

  case handled by undersigned counsel is M.D. Fla. Case No. 3:21-cv-00102-BJD-MCR, which

  Plaintiff’s counsel initially filed in Lee County, Florida (Case No. 2020-CA-5536), but when

  defendant’s counsel discovered and appeared in the case, Plaintiff’s counsel voluntarily dismissed

  and re-filed the exact same case in St. Johns County, Florida (2020-CA-001102) and refused to

  provide any notice of the new case to defendant’s counsel of record, resulting in a clerk’s default

  before defendant could discover and ultimately remove the new case to federal court. These are

  the typical tactics of Plaintiff’s counsel, who uses the Florida court system as his own personal

  game board to improperly accumulate default judgments, requiring defendants to engage in an

  endless game of “Whack-a-mole.”


  2
    Plaintiff emphasizes in its filings that Defendant does not contest service when it discovers the
  case before a default is entered, despite defective service. But in those situations there is no reason
  to contest service or move to quash, and doing so would be highly unusual. Regardless, in all of
  these cases, it is undisputed that CT Corp rejected service and that Defendant received no notice
  of the case except through its own independent research. See Ex. 2, ¶¶ 10-11.

                                                    4
  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 5 of 21




           Unfortunately, in most of these cases, like this one, the defendant does not discover the

  case until after a clerk’s default, and often a default judgment is entered, which of course is the

  precise goal of Plaintiff’s counsel in each of these cases. In this situation, Plaintiff’s counsel

  aggressively defends the propriety of the default and defective service until the default is

  eventually vacated.

           As noted above, many of these cases have been removed to federal court. Once removed,

  Plaintiff’s counsel generally ceases the harassing tactics that he employs in state court, including

  invasive discovery requests, frivolous motions for sanctions and for disqualification, and seeking

  lengthy evidentiary hearings on “red herring” issues. Instead, as in this case, Plaintiff’s counsel

  usually files a motion for remand, alleging that removal is untimely. Specifically, in cases against

  DBNTC, Plaintiff’s counsel claims that service on CT Corp was proper because a security guard

  working at the corporate headquarters of Deutsche Bank—who, unlike DBNTC, has appointed CT

  Corp as its registered agent—informed the process server that service could be effected through

  its registered agent, CT Corp. Similarly, in cases against BNYM, Plaintiff’s counsel claims that

  service on CT Corp was proper because BNYM maintains the same Employer Identification

  Number (EIN) as one of its predecessors, The Bank of New York, Inc. (“BONY”)—who, unlike

  BNYM, has appointed CT Corp as its registered agent. See Doc. 3, ¶¶ 5, 22; Doc. 4 (Sunbiz filings

  for BONY). Not surprisingly, these theories for service ignore critical facts, including that there is

  zero evidence, and nothing in the public records, reflecting that either DBNTC or BNYM has ever

  appointed CT Corp as its registered agent.

           Notably, every state and federal court to have decided the service issues in these identical

  cases has concluded that service of process was fatally defective. See, e.g., Ex. 4 (sampling of state

  court orders); see also Case No. 8:20-cv-3090-VMC-AEP (M.D. Fla. Feb. 22, 2021), Doc. No. 32



                                                    5
  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 6 of 21




  (detailed order denying motion to remand); Case No. 8:21-cv-00039-WFJ-TGW (M.D. Fla. Ja. 22,

  2021, Doc. No. 13 (granting motion to quash), Doc. No. 15 (denying motion to remand); Case No.

  5:21cv14-TKW-MJF (N.D. Fla. Feb 18, 2021), ECF No. 16 (detailed order quashing service and

  denying remand), ECF No. 21 (denying reconsideration). 3

           Ultimately, the facts in these cases are disturbing. Plaintiff and its counsel have concocted

  a scheme to try to obtain default judgments against banking institutions for many tens of millions

  of dollars. Over the span of a few months, they filed nearly one hundred lawsuits (or perhaps more)

  across the entire State of Florida in an effort to avoid detection, based on complaints containing

  non-existent claims. For the scheme to potentially work, Plaintiff’s counsel has attempted to

  document some basis upon which to serve CT Corp rather than the defendant, knowing that CT

  Corp would reject service. As intended, the defendants in these cases—who are routinely served

  and have no difficulty receiving service in other lawsuits—never received any notice of these

  lawsuits. Of course, Plaintiff’s counsel should not be rewarded for his reverse-engineered scheme

  to accumulate massive default judgments on non-existent claims. At a minimum, the defaults and

  default judgments in these cases must be vacated.

           B.     The facts in this particular case

           This particular action is based on a prior mortgage foreclosure action brought by the Trust

  in Pasco County, Case No. 2008-CA-004054 (the “Foreclosure Action”), relating to real property

  located in Pasco County at 4340 Huddlestone Drive, Wesley Chapel, Florida 33545 (the

  “Property”). Compl. ¶¶ 3, 20. The Foreclosure Action, which was heavily defended, resulted in a




  3
   As of the date of this filing, it does not appear that the federal courts have issued decisions yet in
  any of the cases against BNYM. Defendant’s counsel will file notices of supplemental authority
  as these same motions get decided in the numerous identical cases involving BNYM.
                                                      6
  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 7 of 21




  Final Judgment of Foreclosure on September 10, 2014 at the conclusion of trial (the “Foreclosure

  Judgment”). The Foreclosure Judgment is attached as Exhibit 5.

           The Plaintiff herein purchased the Property on August 28, 2013 while the Foreclosure

  Action was pending at a junior lien foreclosure sale for $27,400.00, in Pasco County Case No.

  2013-CC-000118. The sale price was only $27,400.00 due to the Trust’s senior mortgage on the

  Property and the pending Foreclosure Action. A copy of the Certificate of Sale and the Certificate

  of Title to the Plaintiff is attached as Composite Exhibit 6. Thus, Plaintiff took title to the Property

  in 2013 subject to the Trust’s senior mortgage and lis pendens in the Foreclosure Action.

           On January 28, 2019, Plaintiff and Defendant entered into a Settlement Agreement and

  Release of Claims, which broadly released all claims relating to the Foreclosure Action, the

  Property, or the mortgage, including the precise claims that form the basis for this new lawsuit (the

  “Settlement Agreement”). A copy of the Settlement Agreement is attached as Exhibit 7. See Ex.

  7 at ¶¶ 3E-F (broad release provisions). The Settlement Agreement is between Plaintiff and

  Defendant, and it specifically identifies counsel for each party, including Lee Segal who signed as

  the attorney for Plaintiff, along with disbarred attorney Mark Stopa who signed as the principal for

  Plaintiff, so there could be no denying that either Plaintiff or its counsel are aware of the Settlement

  Agreement. Ex. 7. Pursuant to the Settlement Agreement (¶ 3C), on March 14, 2019, the court

  entered an Agreed Order Vacating Final Judgment of Foreclosure, Dismissing Action, and

  Discharging Lis Pendens. A copy of the Agreed Order is attached as Exhibit 8. In addition,

  pursuant to the Settlement Agreement (¶ 3D), the Defendant recorded a Satisfaction of Mortgage,

  which was recorded on March 11, 2019, a copy of which is attached as Exhibit 9. As a result, the

  Foreclosure Judgment was vacated, the foreclosure sale never occurred, and title never transferred

  as a result of the Foreclosure Action, and in fact, the mortgage itself has been satisfied and released.



                                                     7
  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 8 of 21




           Thus, to be clear, not only has this particular Plaintiff released the exact claims that form

  the basis for this meritless suit, but in fact, the entire suit challenges an event—an allegedly

  improper foreclosure sale that allegedly deprived Plaintiff of title—that never even occurred. In

  fact, Plaintiff—who continued to own the Property, free and clear of the mortgage—later sold the

  Property to a third party in July 2019 for $260,000 (i.e., fair market value), which further

  demonstrates the utter frivolousness of Plaintiff’s “claim” in this case. A copy of the General

  Warranty Deed and the online records for the Property from the Pasco County Property

  Appraiser’s Office (which each reflect the purchase price, including through the amount of doc

  stamps paid) is attached as Composite Exhibit 10.

           Plaintiff filed the Complaint in this separate action on October 18, 2020 in Palm Beach

  County, Florida (the “State Court Action”), even though all of the underlying events—i.e., the

  challenged Foreclosure Action—took place in Pasco County. There is zero connection to Palm

  Beach County. The Complaint seeks damages for violation of Florida’s “Civil Remedies for

  Criminal Practices Act,” Fla. Stat. § 772.101, et seq., referred to as Florida’s RICO statute, based

  on litigating the Foreclosure Action. The claim is based on the allegation that the Trust was not

  the owner or holder of the note and therefore lacked standing to foreclose. Compl. ¶¶ 8, 10, 23-25.

           Plaintiff immediately obtained a Summons to serve Defendant—The Bank of New York

  Mellon, as trustee—at CT Corp. The Return of Service filed on October 26, 2020 states that service

  was delivered to Donna Mack, Manager for CT Corp. Upon receiving the attempted service, CT

  Corp immediately sent a letter on October 22, 2020 to Plaintiff’s counsel making clear that CT

  Corp “is not the registered agent” for BNYM, and that CT Corp “was unable to forward” service

  to BNYM. Ex. 1, at ¶ 5 & Ex. 1; see id. (“CT was not then and is not currently the registered agent

  for [BNYM]”); Ex. 2, ¶¶ 10-11.



                                                    8
  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 9 of 21




           Despite receiving this letter, Plaintiff moved for a default on November 13, 2020, which

  was entered by the Clerk on November 19, 2020 (“Clerk’s Default”). Prior to obtaining the

  Default, Defendant had never received service or any notice of this case. Ex. 2, ¶¶ 10-11. On

  November 13, 2020—six days before the Clerk’s Default was even entered—Plaintiff filed a

  Motion for Final Summary Judgment After Default. The Motion incorrectly states, “Defendant

  was personally served with process, yet it did not respond to the Complaint, resulting in a clerk’s

  default,” even though Plaintiff’s counsel knew that Defendant had never received any notice of

  this case, and even though the Clerk’s Default had not even been entered. The “Affidavit” in

  support does not mention any claims or damages, but merely states that the Property is worth

  $333,083.00, based on a review of Realtor.com and Zillow.com. Likewise, the Motion contains no

  discussion of Plaintiff’s allegations or basis for recovering damages. Remarkably, the Motion

  requests $999,249.00, based on treble “damages” in the amount of the property value “multiplied

  by three,” even though Final Judgment in the Foreclosure Action was vacated, even though

  Plaintiff purchased the rental Property for only $27,400, even though the parties settled these

  claims, even though Plaintiff later sold the Property for $260,000, and even though there are no

  identifiable damages alleged in the Complaint. On January 6, 2021, the State Court entered a Final

  Judgment After Default in the amount of $999,249.00 (the “Default Judgment”).

           Defendant first discovered the existence of this lawsuit on January 13, 2021—after the

  Default Judgment had already been entered—through its own independent research. Ex. 2, ¶ 11.

  On January 21, 2021, Defendant filed a detailed motion to quash service and vacate the Clerk’s

  Default and Default Judgment in the State Court Action. On February 11, 2021, Defendant

  removed the case to this Court. Defendant is renewing its motion in compliance with L.R. 7.2.




                                                  9
  QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 10 of 21




   II.      The Law and Argument

            A.     The Default Judgment must be vacated pursuant to Fed. R. Civ. P. 60(b)(4)
                   because it is void for lack of personal jurisdiction and insufficient service of
                   process.

            The Default Judgment must be set aside as void because Defendant was never properly

   served, and therefore the state court lacked jurisdiction over Defendant when the Judgment was

   entered. “Service of process is a jurisdictional requirement: a court lacks jurisdiction over the

   person of a defendant when that defendant has not been served.” Pardazi v. Cullman Med. Center,

   896 F.2d 1313, 1317 (11th Cir. 1990). Absent service of process, all proceedings against the

   defendant are void. See Kelly v. Fla., 233 F.R.D. 632, 634 (S.D. Fla. 2005), aff’d, 233 F. App’x

   883 (11th Cir. 2007). “It is plaintiff’s burden to establish proper service of process when

   challenged.” Id. “The statutory method of service is exclusive and must be strictly followed.” Id.

            Defendant is a financial institution, and therefore service “must be made in accordance

   with s. 655.0201.” Fla. Stat. § 48.092; see Fla. Stat. § 655.0201(1). The statute clearly provides

   that “service may be made to any officer, director, or business agent of the financial institution

   at its principal place of business or at any other branch, office, or place of business in the state.”

   Fla. Stat. § 655.0201(3)(a) (emphasis added). Subsection (2), which does not apply here, as

   discussed below, provides financial institutions with an optional right to designate a registered

   agent within the state for service of process. Fla. Stat. § 655.0201(2).

            BNYM’s principal place of business is located at 240 Greenwich St., New York, NY

   10286. Ex. 2, ¶ 8. Critically, it is undisputed that Plaintiff made no attempt to serve BNYM at this

   location, where BNYM routinely accepts service of process, or at any of BNYM’s many branches

   in Florida, which would have been easy to do. Id. at ¶¶ 8, 10-11. A simple Internet search for “The

   Bank of New York Mellon” reveals that BNYM has many offices in Florida. See



                                                    10
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 11 of 21




   https://www.bnymellon.com/us/en/about-us/locations.html. Nor did Plaintiff serve any officer,

   director, or business agent of BNYM, as the statute requires.

            Instead, Plaintiff relies solely on the improper attempted service on CT Corp. See Doc. 3

   (Motion for Remand). Plaintiff’s counsel pursued this theory even though there is nothing in the

   public records suggesting that BNYM has ever appointed CT Corp as its registered agent.

   Plaintiff’s counsel also pursued this theory despite knowing that CT Corp would expressly reject

   service and not provide the summons and complaint to BNYM, and that Defendant would not

   receive any notice of this case. Exs. 1-2.

            Plaintiff’s entire basis for pursuing this bizarre theory—and its sole “evidence” in support

   of its position—is that BNYM shares the same EIN as one of its predecessors, BONY, who, unlike

   BNYM, did appoint CT Corp as its registered agent. But Plaintiff did not sue BONY, so there was

   no reason to investigate how BONY would need to be served. 4 A simple search for the Defendant,

   BNYM, on Florida’s Division of Corporations website (“Sunbiz”), reveals that BNYM has not

   appointed CT Corp as its registered agent. See Exhibit 11. And if there were any doubt, a review

   of the Federal Deposit Insurance Corporation (“FDIC”) website would have revealed that BONY

   is “Closed,” unlike BNYM, which is the successor entity. Attached as Exhibits 12 and 13 are

   FDIC records for BONY and BNYM, respectively. And the mere fact that BNYM maintained

   BONY’s EIN—Plaintiff’s lynchpin argument—is hardly surprising given the well-known merger

   with BONY that resulted in BNYM. See, e.g., https://www.irs.gov/businesses/small-businesses-

   self-employed/do-you-need-a-new-ein (stating that a new EIN is not required if “[t]he surviving




   4
     If Plaintiff had sued BONY—presumably based on pre-merger liabilities—then it is quite
   possible that BNYM, as the successor entity, would have received notice. And of course, there are
   good reasons for successor entities to want to receive notice of lawsuits against their predecessors.
                                                    11
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 12 of 21




   corporation uses the existing EIN after a corporate merger”). 5 Thus, not only was extensive

   research required by Plaintiff’s counsel to invent some basis to serve BNYM through CT Corp,

   but any genuine inquiry would have revealed that BNYM—the actual defendant in this case—was

   the proper entity to serve. And of course, Plaintiff’s counsel already knew that CT Corp had not

   accepted any appointment as a registered agent for BNYM, as Florida law requires. Fla. Stat. §

   607.0501(3); Ex. 1.

            Once this insufficient attempt to serve BNYM was documented, Plaintiff immediately

   moved for and obtained the Default and Default Judgment, falsely representing that BNYM had

   been “personally served.” Plaintiff did that without even attempting service at any BNYM location,

   or making any additional efforts to notify BNYM of this case, despite knowing that BNYM had

   no notice of this lawsuit. Ex. 1; Ex. 2, ¶¶ 10-11. For example, prior to seeking a default, Plaintiff

   failed to provide notice to Defendant’s counsel of record in the Foreclosure Action that forms the

   basis for this lawsuit—with whom Plaintiff had recently negotiated the Settlement Agreement—

   which provides an independent basis for vacating the Default. See Jacaranda, LLC v. Green Tree

   Servicing, LLC, 203 So. 3d 964, 966 (Fla. 2d DCA 2016) (“[A] trial court should vacate an ex

   parte default when the plaintiff seeking default had actual knowledge that the defendant was

   represented by counsel [“in another lawsuit which involves the same dispute”] and intended to

   defend the lawsuit, but failed to contact the defendant’s counsel prior to seeking default.”); Makes

   & Models Magazine, Inc. v. Web Offset Printing Co., Inc., 13 So.3d 178, 181 (Fla. 2d DCA 2009);

   U.S. Bank Nat. Ass’n v. Lloyd, 981 So.2d 633, 642-3 (Fla. 2d DCA 2008).



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     Although not articulated or intelligible, Plaintiff appears to be arguing that every time a merger
   occurs and a successor entity maintains the same EIN as one of its predecessors, which is common,
   then the successor entity must also maintain the same registered agent as that predecessor.
   Needless to say, there is no legal support for such an argument, and no basis for courts to impose
   such a requirement.
                                                    12
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 13 of 21




            Plaintiff’s argument is nothing more than an attempt to convince this Court that service

   was proper on a non-party who had been notifying Plaintiff’s counsel for months that it would not

   and could not accept service, and where the actual Defendant in this case never appointed CT Corp

   as its registered agent. Because Defendant was not properly served, the state court lacked

   jurisdiction over Defendant. Therefore, the Clerk’s Default and Default Judgment must be vacated.

            B. Alternatively, the Clerk’s Default and Default Judgment should be vacated for
               good cause and excusable neglect.

            “To establish . . . excusable neglect under Rule 60(b)(1), a defaulting party must show that:

   (1) it had a meritorious defense that might have affected the outcome; (2) granting the motion

   would not result in prejudice to the non-defaulting party; and (3) a good reason existed for failing

   to reply to the complaint.” In re Worldwide Web Systems, Inc., 328 F.3d 1291, 1295 (11th Cir.

   2003). Likewise, the liberal “good cause” standard for setting aside defaults under Rule 55(c)

   considers (1) whether the default was culpable or willful; (2) whether setting aside the default

   would prejudice the adversary; and (3) whether the defaulting party presents a meritorious

   defense. See Compania Interamericana Export-Import, S.A. v. Compania Dominicana de

   Aviacion, 88 F.3d 948, 951 (11th Cir. 1996).

            “[B]ecause of the strong policy of determining cases on their merits, defaults are seen with

   disfavor.” See Gulf Coast Fans, Inc. v. Midwest Electronics Importers, Inc., 740 F.2d 1499, 1510

   (11th Cir. 1984). Indeed, “[t]o obtain relief under Rule 55(c), the movant must only make a ‘bare

   minimum showing’ to support her claim for relief.” Griffin IT Media, Inc. v. Intelligentz Corp.,

   2008 WL 162754, 2 (S.D. Fla. 2008) (citing Jones v. Harrell, 858 F.2d 667, 669 (11th Cir. 1988)).

                   1.      Setting aside the Defaults would not prejudice Plaintiff.

            Vacating the Default would not prejudice Plaintiff. The concept of prejudice is “whether

   prejudice results from the delay, not from having to continue to litigate the case.” Conn. State

                                                     13
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 14 of 21




   Dental Ass’n v. Anthem Health Plans, Inc., 591 F.3d 1337, 1357 (11th Cir. 2009) (emphasis

   added). Here, Defendant’s Motion is filed at the outset of the case, before any litigation has

   occurred. See Foster v. Omni Cab, LLC, No. 3:15-CV-1421-J-34MCR, 2016 WL 8997403, at *2

   (M.D. Fla. May 3, 2016) (finding no prejudice when four months lapsed between filing complaint

   and defendant’s motion to set aside default). Also, any short delay is attributable to Plaintiff, due

   to his refusal to notify Defendant of this case or to agree to vacate the Default.

            Admittedly, vacating the Default would defeat the entire purpose of this case and likely

   result in a voluntary dismissal. But that does not constitute “prejudice” for purposes of this

   inquiry, because the only result of vacating the Default would be that Plaintiff would have to

   actually “litigate the case” on its merits. Conn. State Dental Ass’n, 591 F.3d at 1357. As discussed

   above, there is a strong preference to allowing cases to be tried on their merits, and certainly no

   preference for allowing attorneys to engage in trickery and schemes to obtain default judgments.

                   2.     Defendant has good reason for failing to reply to the Complaint.

            The only reason Defendant did not timely reply to the Complaint is because Defendant

   never received it, and never received any notice of this case, and therefore did not have any

   opportunity to respond to the Complaint. BNYM first learned of this lawsuit on January 13, 2021,

   which was after the Default Judgment was already entered. Ex. 2, ¶ 11; see also Ferrier v. Atria,

   728 F. App’x 958, 961 (11th Cir. 2018) (holding that default was not willful or culpable because

   defendant was not properly served and was “unaware of the action against him”).

                   3.     Defendant has numerous meritorious defenses.

            Defendant has numerous meritorious defenses, including that the Complaint is barred as

    a matter of law and fails to state a claim. In evaluating the existence of a meritorious defense,

    “likelihood of success is not the standard; rather, a defense is meritorious if it contains ‘even a



                                                    14
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 15 of 21




    hint of suggestion which, if proven at trial, would constitute a complete defense.’” James v.

    Progress Energy Florida, Inc., No. 5:11–cv–175–Oc–32TBS, 2011 WL 3585816, *2 (M.D. Fla.

    Aug. 16, 2011). Examples of meritorious defenses include denial of engaging in the alleged

    misconduct and lack of personal jurisdiction. Acme Barricades, L.C. v. Acme Barricades, LLC,

    No. 3:20-CV-255-J-34PDB, 2020 WL 7390081, at *3 (M.D. Fla. Oct. 24, 2020); Clark v.

    Newcity, No. 2:10-CV-360-WKW, 2010 WL 3908596, at *3 (M.D. Ala. Sept. 30, 2010).

                           a.      This Court lacks personal jurisdiction over Defendant.

            Although Defendant has no intention of ultimately defending this case on the basis of

   personal jurisdiction—and Defendant would have promptly appeared in the case if only

   Defendant had received notice of it—currently this Court lacks jurisdiction over Defendant

   because Defendant has never been served with process.

                           b.      Plaintiff’s claim is barred by settlement and release.

            As a true reflection of the utter frivolousness of these lawsuits, Plaintiff’s claim in this

   case, and many of these cases, is barred by the written, signed Settlement Agreement between the

   parties. All of the challenged conduct occurred prior to, and was expressly released by, the

   Settlement Agreement. The parties’ signed Settlement Agreement and the Satisfaction of

   Mortgage release all claims related to the Foreclosure Action, including those in the Complaint.

   But of course, the merits of these “claims” are entirely irrelevant to Plaintiff’s counsel’s scheme.

                           c.      The Complaint is barred by the litigation immunity privilege.

            Florida’s litigation immunity privilege provides absolute immunity for acts occurring

   during the course of a judicial proceeding “so long as the act has some relation to the proceeding,”

   and the privilege “extends to the parties, judges, witnesses, and counsel involved and related to the

   judicial proceedings.” Echevarria, McCalla, Raymer, Barrett & Frappier v. Cole, 950 So. 2d 380,



                                                     15
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 16 of 21




   383–84 (Fla. 2007) (holding that litigation privilege bars all causes of action, whether tort or

   statutory, and that borrowers were barred from suing based on conduct occurring during

   foreclosure proceedings). As the Florida Supreme Court has explained, parties must “be free to

   use their best judgment in prosecuting or defending a lawsuit without fear of having to defend their

   actions in a subsequent civil action for misconduct,” and the “remedies for perjury, slander, and

   the like committed during judicial proceedings are left to the discipline of the courts, the bar

   association, and the state.” Levin, Middlebrooks, Mabie, Thomas, Mayes & Mitchell, P.A. v. U.S.

   Fire Ins. Co., 639 So. 2d 606, 608-09 (Fla. 1994). Here, the Complaint is based on the allegation

   that Defendant “illegally” litigated the Foreclosure Action. Of course, courts and litigants are

   protected against these types of claims brought in separate proceedings by the litigation privilege.

                           d.      Plaintiff’s claim is time-barred.

            Plaintiff’s claim is also time-barred. The statute of limitations period is five years. Fla.

   Stat. § 772.17. All of the challenged conduct occurred more than five years before the Complaint

   was filed, including recording the assignment of mortgage and lis pendens in 2008 and obtaining

   the Foreclosure Judgment in 2014. Compl. ¶¶ 21, 40. Therefore, the claim is time-barred.

                           e.      Plaintiff took title subject to the mortgage and lis pendens.

            Plaintiff purchased the Property subject to the mortgage and lis pendens—five years after

   the lis pendens was recorded—which of course explains why Plaintiff was able to purchase the

   Property for such a discount and why Plaintiff entered into the Settlement Agreement. A recorded

   lis pendens serves as constructive notice to everyone acquiring an interest in Property of the claims

   asserted in the litigation, and by operation of law, any purchasers acquire their interest subject to

   the outcome of the litigation. See, e.g., U.S. Bank Nat. Ass’n. v. Bevans, 138 So. 3d 1185 (Fla. 3rd

   DCA 2014); Adhin v. First Horizon Home Loans, 44 So. 3d 1245, 1251-52 (Fla. 5th DCA 2010).



                                                     16
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 17 of 21




   In addition, Plaintiff purchased the Property subject to the mortgage, and therefore is estopped

   from challenging the validity or enforceability of the mortgage, which is precisely what this lawsuit

   seeks to do. See Irwin v. Grogan-Cole, 590 So. 2d 1102, 1104 (Fla. 5th DCA 1991); Eurovest, Ltd.

   v. Segall, 528 So. 2d 482, 483 (Fla. 3d DCA 1988). Similarly, Plaintiff lacks standing to raise its

   claims, given that it is a stranger to the mortgage and underlying issues that form the basis for its

   claims. See, e.g., Citibank, N.A. v. Olsak, 208 So. 3d 227, 230 (Fla. 3d DCA 2016).

            Furthermore, the Complaint is based on an event that never occurred—an allegedly

   improper Foreclosure Judgment—when in fact the Judgment was vacated pursuant to a signed

   Settlement Agreement. If Plaintiff’s allegations were somehow true—i.e., assuming Defendant

   had improperly foreclosed—then the Complaint would be barred by res judicata and collateral

   estoppel because the claims turn on Defendant’s standing and entitlement to foreclose. Those

   issues were already adjudicated in the Foreclosure Action, which resulted in a Judgment (before it

   was vacated), and the validity of that Judgment would be beyond this Court’s jurisdiction.

            Thus, under any analysis, Plaintiff’s claim are barred as a matter of law.

                           f.      Plaintiff has failed to allege any causation or damages.

            Plaintiff has failed to allege damages because the Foreclosure Judgment was vacated and

   never resulted in Plaintiff losing title to the Property. Similarly, there is no causation between the

   alleged wrongdoing (litigating the Foreclosure Action) and Plaintiff’s alleged damages (the value

   of the Property) because Plaintiff never lost title as a result of the Foreclosure Action.

                           g.      The Complaint fails to state a claim, which is an independent
                                   ground for vacating the Defaults.

            The Complaint fails to state a claim, which also is a separate and independent basis to

   vacate the Default Judgment. Under Florida law, “[a] default judgment should be set aside where

   the complaint on its face fails to state a cause of action.” Becerra v. Equity Imports, Inc., 551 So.

                                                     17
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 18 of 21




   2d 486, 488 (Fla. 3d DCA 1989) (“where the complaint fails to state a cause of action, courts find

   it unnecessary to decide whether the defendant otherwise set forth good grounds for failing to

   respond to the complaint.”); see Santiago v. Mauna Loa Investments, LLC, 189 So. 3d 752, 755

   (Fla. 2016). Put differently, a plaintiff is not entitled to a judgment against a defendant merely

   because the defendant has not responded where the well-pled allegations of the complaint do not

   even state any cause of action, just as numerous courts have held in denying motions for summary

   judgment and dismissing these exact same complaints, despite clerk’s defaults. See, e.g., Ex. 4.

            Ultimately, if this Complaint alleged a RICO claim, then the mere filing of nearly every

   foreclosure case would likewise give rise to a valid RICO claim, since none of the allegations are

   even connected to the actual loan or Foreclosure Action at issue. Indeed, Plaintiff’s counsel has

   filed many dozens of recent “RICO” complaints based on the exact same allegations. See Ex. 3.

            “Florida’s RICO statutes have consistently been interpreted using federal RICO claim

   cases.” All Care Nursing Serv., Inc. v. High Tech Staffing Servs., Inc., 135 F.3d 740, 745 (11th

   Cir. 1998). “Civil RICO claims, which are essentially a breed of fraud claims, must be pled with

   an increased level of specificity” consistent with Rule 9(b). Ambrosia Coal & Constr. Co. v.

   Pages Morales, 482 F.3d 1309, 1316 (11th Cir. 2007). Plaintiff must plausibly allege Defendant

   “(1) operated or managed (2) an enterprise (3) through a pattern (4) of racketeering activity that

   included at least two racketeering acts.” Ray v. Spirit Airlines, Inc., 767 F.3d 1220, 1224 (11th

   Cir. 2014). Because Plaintiff raises a conspiracy claim, he must also allege: “(1) an agreement

   with the overall objection of the conspiracy; or (2) an agreement to commit two predicate acts.”

   Drummond v. Zimmerman, 454 F. Supp. 3d 1210, 1217 (S.D. Fla. 2020).

            Plaintiff fails to allege any of the required elements of a RICO claim. Rather than alleging

   that Defendant operated or managed an enterprise, Plaintiff seems to suggest that Defendant is



                                                     18
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 19 of 21




   acting as the enterprise. No other entity or person is named as a defendant, and only Defendant

   and its own servicing agents are alleged to have committed any wrongdoing. Compl ¶ 36. But

   Defendant’s servicing agents cannot comprise part of the enterprise. See Ray, 836 F.3d at 1357

   (11th Cir. 2016); Cedric Kushner Promotions, Ltd. V. King, 533 U.S. 158, 163 (2001); see also

   Wilmington Sav. Fund Soc’y, FSB v. Tacoronte, 293 So. 3d 1071, 1073 (Fla. 5th DCA 2020).

            Plaintiff also fails to allege Defendant is “engaging in an ongoing course of criminal

   conduct.” Courbin v. Scott, 596 Fed. Appx. 729, 733 (11th Cir. 2014). Plaintiff claims Defendant

   brought the Foreclosure Action to “attempt to foreclose the Mortgage and steal the Property from

   Plaintiff.” Compl. ¶ 23. But foreclosing a mortgage is “a discrete goal” and cannot constitute an

   ongoing criminal enterprise. See Dysart v. BankTrust, 516 Fed. Appx. 861, 864 (11th Cir. 2013).

            And Plaintiff fails to allege criminal acts and a pattern of criminal activity. See Fla. Stat.

   § 772.102(4). Plaintiff bases his claim on (1) recording the assignment of mortgage (Compl. ¶¶

   21-23, 40), and (2) prosecuting the Foreclosure Action (Compl. ¶¶ 23, 40). But Plaintiff fails to

   allege how such activity gives rise to liability under RICO, instead alleging, in conclusory terms,

   that Defendant engaged in a “fraudulent and illegal attempt to foreclose the Mortgage and steal

   the Property from Plaintiff.” Compl. ¶ 23. Without plausible allegations of multiple criminal acts,

   Plaintiff cannot establish the required pattern of criminal activity.

            Plaintiff also fails to allege a conspiracy. Plaintiff’s conclusory allegation that Defendant

   conspired with its own servicing agents is clearly insufficient to support a RICO conspiracy

   claim. See Twombly, 127 S. Ct. 1955, 1966 (2007). Also, without actionable predicates, the

   conspiracy allegations fail. See Jackson v. BellSouth Telecommunications, 372 F.3d 1250, 1269

   (11th Cir. 2004).




                                                      19
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 20 of 21




            C.     Separately, the Default Judgment Should be Vacated Pursuant to Fed. R. Civ.
                   P. 60(b)(3) for fraud, misrepresentation, and misconduct.

            Rule 60(b)(3) provides relief from final judgment for “fraud, … misrepresentation, or

   misconduct by an opposing party.” For relief under Rule 60(b), the misconduct must be of a type

   that prevented the other party from “fully and fairly presenting his case.” Keys v. Dunbar, 405 F.2d

   955, 958 (9th Cir. 1969). These lawsuits epitomize the purpose and scope of this rule. As discussed

   above, the only reason defendants did not appear and respond to these countless lawsuits—and

   indeed, the only reason they were filed in the first place—is the result of Plaintiff’s counsel’s

   improper scheme to amass default judgments. This type of conduct should not be condoned, and

   at a minimum, it warrants vacating the Clerk’s Default and Default Judgment.

   III.     Conclusion

            The Clerk’s Default and Default Judgment entered against Defendant must be vacated, for

   multiple independent reasons. First, Plaintiff has not and cannot meet its burden of proving that it

   strictly complied with Florida’s statute for service of process on financial institutions. As such,

   service was improper and must be quashed, and the Defaults are void and must be vacated.

   Alternatively, even if service were somehow sufficient, Defendant has demonstrated excusable

   neglect and good cause. In addition, Plaintiff obtained the Defaults through fraud, misconduct, and

   misrepresentation. Therefore, this Court should quash service and vacate the Defaults.

            WHEREFORE, Defendant respectfully requests that this Honorable Court quash the

   service of process improperly made upon Defendant, set aside the Clerk’s Default entered on

   November 19, 2020, vacate the Default Judgment entered on January 6, 2021 in the State Court

   Action, deny Plaintiff’s Motion to Strike Motion to Vacate and for Sanctions filed in the State

   Court Action, take judicial notice of the documents referenced herein and attached hereto, award

   Defendant its attorneys’ fees and costs, and for such further relief this Court deems just and proper.

                                                    20
   QB\67142563.1
Case 9:21-cv-80319-AMC Document 15 Entered on FLSD Docket 02/24/2021 Page 21 of 21




                                LOCAL RULE 7.01(a)(3) CERTIFICATION

            Pursuant to L.R. 7.01(a)(3), undersigned counsel certifies that Defendant has conferred

   with Plaintiff’s counsel, Lee Segal, by email and telephone, including by telephone on February

   1, 2021 and February 15, 2021, in a good faith effort to resolve the issues raised in this motion and

   has been unable to do so. The one issue the parties were able to resolve is that Plaintiff’s counsel

   agrees that this Court should take judicial notice of all court filings and public records.

                                                         QUARLES & BRADY LLP

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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that the foregoing was filed on February 24, 2021, using the

   CM/ECF e-filing system, and was served on Plaintiffs’ counsel, Lee Segal, Esq., Segal & Schuh

   Law Group, P.L., 18167 U.S. Hwy 19 N. Suite 100, Clearwater, FL 33764, lee@segalschuh.com.

                                                                  /s/ Joseph T. Kohn
                                                                  Joseph T. Kohn




                                                    21
   QB\67142563.1
